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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


U NITED S TATES OF A MERICA
                                          Criminal Action No.
      v.
                                          1:17-CR-00428-6-LMM-RGV
M ICHAEL M ILLER ,
G IOVANNI C ARTIER A / K / A
    “R IQ ” C ARTIER ,
E RIC F ARRINGTON III,
M ELVIN G OODE ,
K IRK E VANS , AND
V LADIMIR M ARCELLUS

                      Sentencing Memorandum

   The United States of America, by Byung J. Pak, United States

Attorney, and Samir Kaushal, Assistant United States Attorney for the

Northern District of Georgia, files this Sentencing Memorandum to

provide its sentencing recommendation for Defendant Vladimir

Marcellus.

   Pursuant to the plea agreement, at sentencing, the government will

move for (i) a one-level downward variance for expeditious entry of a

guilty plea and (ii) a two-level downward departure under Section

5K1.1 of the United States Sentencing Guidelines for substantial

assistance. If the Court grants these motions, Marcellus will have a
total offense level of 11 and a custody guideline range of 8 to 14 months

(Zone B), and the government will recommend that Marcellus receive a

sentence of 36 months’ probation with 8 months’ to be served in home

confinement. If the motions are not granted, the government will
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recommend that Marcellus receive a sentence at the low end of the custody

guideline range. 1

                                             Respectfully submitted,

                                             B YUNG J. P AK
                                                 United States Attorney



                                           /s/ S AMIR K AUSHAL
                                                 Assistant United States Attorney
                                             Georgia Bar No. 935285
                                             Samir.Kaushal@usdoj.gov




   1The plea agreement states the following regarding a sentencing
recommendation:
             If the adjusted guideline range falls under Zone A or B
             of the Sentencing Table, the Government and the
             Defendant agree that the Defendant should be
             sentenced to a three year term of probation, with the
             low end of the adjusted guideline range to be served as
             home confinement. Otherwise, the Government agrees
             to recommend that the Defendant be sentenced at the
             low end of the adjusted guideline range.
(Doc. 70-1 at 9.)
              600 U.S. Courthouse, 75 Ted Turner Drive S.W., Atlanta, GA 30303
                             (404) 581-6000 fax (404) 581-6181

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                              Certificate of Service

The United States Attorney’s Office served this document today by filing it using
the Court’s CM/ECF system, which automatically notifies the parties and counsel of
record.


                           Timothy McCalep
                           Counsel for Defendant Vladimir Marcellus


July 5, 2018


                                          /s/ SAMIR KAUSHAL
                                          SAMIR KAUSHAL
                                          Assistant United States Attorney
